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EXHIBIT A
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AO 88B (Rev..06/09) Subpoena to Produce Documents, Information, or Objects orto. Permit Inspection of Premises in a Civil Action

UNITED STATES DISTRICT COURT

for the

Northern District of California —

ASUS COMPUTER INTERNATIONAL

Plaintiff
Vv

. Civil Action No, 3:12-cv-0299-WHA
ROUND ROCK RESEARCH LLC

- (If the action is penditig in another district, state where:

Defendant Northern District of California )

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS |
OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To: Pixart Imaging (USA), Inc., 3028 Oakmead Village Court, Santa Clara, CA, Inc.;
Reg. Agent: Katherine Chao, 333 Twin Dolphin Drive, Redwood City, CA 94065

A Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and-permit their inspection, copying, testing, or sampling of the
material: See attached Schedule A

Place: Black Chang & Hamill LLP Date and Time:
4 Embarcadero Center, Suite 1400 .
San Francisco, California 94111 Cp so , 01/31/2013 10:00 am

(1 Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

Place: ° Date and Time:

The provisions of Fed. R. Civ. P. 45(c), relating to your protection as a person subject to a subpoena, and Rule
45 (d) and (e), relating to your duty to respond to this subpoena and the potential consequences of not doing so, are
attached.

Date: Of-O 71-2013

CLERK OF COURT

Signature of Clerk or Deputy Clerk

The name, address, e-mail, and telephone number of the attomey representing (name of party) Round Rock Research LLC

, who issues or requests this subpoena, are:

Lauren M. Nowierski
Desmarais LLP
230 Park Avenue, New York, NY 10169, (212) 351-3400

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"Civil Action No. 3:12-cv-0299-WHA

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

This subpoena for (name of individual and title, if any)

was received by me on (date)

C I served the subpoena by delivering a copy to the named person as follows:

On (date) - 5 or

C1 I returned the subpoena unexecuted because:

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
tendered to the witness fees for one day’s attendance, and the mileage allowed by law, in the amount of

$

My fees are $ for travel and $ for services, for a total of $ 0.00

~ [declare under penalty of perjury that this information is true. -

Date:

_ Server's signature

Printed name and title

Server’s address

Additional information regarding attempted service, etc:
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Federal Rule of Civil Procedure 45 (c), (d), and (e) (Effective 12/1/07)

(c) Protecting a Person Subject to a Subpoena.

(1) Avoiding Undue Burden or Expense; Sanctions. A party or
attorney responsible for issuing and serving a subpoena must take
reasonable steps to avoid imposing undue burden or expense on a
person subject to the subpoena. The issuing court must enforce this
duty and impose an appropriate sanction —- which may include lost
earnings and reasonable attorney’s fees — on a party or attorney
who fails to comply.

(2) Command to Produce Materials or Permit Inspection.

(A) Appearance Not Required, A person commanded to produce
documents, electronically stored information, or tangible things, or
to permit the inspection of premises, need not appear in person at the
place of production or inspection unless also commanded to appear
for a deposition, hearing, or trial.

(B) Objections. A person commanded to produce documents or
tangible things or to permit inspection may serve on the party or
attorney designated in the subpoena a written objection to
inspecting, copying, testing or sampling any or all of the materials or
to inspecting the premises — or to producing electronically stored
information in the form or forms requested. The objection must be
served before the earlier of the time specified for compliance or 14
days after the subpoena is served. If an objection is made, the
following rules apply:

(i) At any time, on notice to the commanded person, the serving
party may move the issuing court for an order compelling production
or inspection.

(ii) These acts may be required only as directed in the order, and
the order must protect a person who is neither a party nor a party’s
officer from significant expense resulting from compliance.

(3) Quashing or Modifying a Subpoenn.

(A) When Required. On timely motion, the issuing court must
quash or modify a subpoena that:

(i) fails to allow a reasonable time to comply;

(ii) requires a person who is neither a party nor a party’s officer
to travel more than 100 miles from where that person resides, is
employed, or regularly transacts business in person — except that,
subject to Rule 45(c)(3)(B)Gii), the person may be commanded to
attend a trial by traveling from any such place within the state where
the trial is held; .

(iii) requires disclosure of privileged or other protected matter, if
no exception or waiver applies; or

(iv) subjects a person to undue burden.

(B) When Permitted. To protect a person subject to or affected by
a subpoena, the issuing court may, on motion, quash or modify the
subpoena if it requires:

(i) disclosing a trade secret or other confidential research,
development, or commercial information;

(ii) disclosing an unretained expert’s opinion or information that
does not describe specific occurrences in dispute and results from
the expert’s study that was not requested by a party; or

(iii) a person who is neither a party nor a party’s officer to incur
substantial expense to travel more than 100 miles to attend trial.

(C) Specifying Conditions as an Alternative. In the circumstances
described in Rule 45(c)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under
specified conditions if the serving party:

(i) shows a substantial need for the testimony or material that
cannot be otherwise met without undue hardship; and

(ii) ensures that the subpoenaed person will be reasonably
compensated.

(d) Duties in Responding to a Subpoena.

(1) Producing Documents or Electronically Stored Information.
These procedures apply to producing documents or electronically
stored information:

(A) Documents. A person responding to a subpoena to produce
documents must produce them as they are kept in the ordinary
course of business or must organize and label them to correspond to
the categories in the demand.

(B) Form for Producing Electronically Stored Information Not
Specified. If a subpoena does not specify a form for producing
electronically stored information, the person responding must
produce it in a form or forms in which it is ordinarily maintained or
in a reasonably usable form or forms.

(C) Electronically Stored Information Produced in Only One
Form. The person responding need not produce the same
electronically stored information in more than one form.

(D) Inaccessible Electronically Stored Information, The person
responding need not provide discovery of electronically stored
information from sources that the person identifies as not reasonably
accessible because of undue burden or cost. On motion to compel
discovery or for a protective order, the person responding must show
that the information is not reasonably accessible because of undue
burden orf cost. If that showing is made, the court may nonetheless
order discovery from such sources if the requesting party shows
good cause, considering the limitations of Rule 26(b)(2)(C). The
court may specify conditions for the discovery.

(2) Claiming Privilege or Protection.

(A) Information Withheld. A person withholding subpoenaed
information under a claim that it is privileged or subject to
protection as trial-preparation material must:

(i) expressly make the claim; and

(ii) describe the nature of the withheld documents,
communications, or tangible things in a manner that, without
revealing information itself privileged or protected, will enable the
parties to assess the claim.

(B) Information Produced. If information produced in response to a
subpoena is subject to a claim of privilege or of protection as trial-
preparation material, the person making the claim may notify any
party that received the information of the claim and the basis for it,
After being notified, a party must promptly return, sequester, or
destroy the specified information and any copies it has; must not use
or disclose the information until the claim is resolved; must take
reasonable steps to retrieve the information ifthe party disclosed it
before being notified; and may promptly present the information to
the court under seal for a determination of the claim. The person
who produced the information must preserve the information until
the claim is resolved,

(e) Contempt. The issuing court may hold in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena. A nonparty’s failure to obey must be excused if the
subpoena purports to require the nonparty to attend or produce at a
place outside the limits of Rule 45(c)(3)(A)Gi).
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SCHEDULE A TO CIVIL SUBPOENA

INTRODUCTION

For a statement of your obligation in producing documents under this subpoena, see Rule
45(d)(1) and (2) of the Federal Rules of Civil Procedure, which appears on the final page of the
subpoena.

DEFINITIONS AND INSTRUCTIONS

1. “Pixart,” “You,” or “Your” means Pixart Imaging, Inc. and all predecessors, subsidiaries,
joint ventures, parents, affiliates, and other legal entities that are wholly or partially
owned or controlled by Pixart, either directly or indirectly, and including but not limited
to all past or present directors, officers, agents, employees, consultants, attorneys, and

' others acting on behalf of these same entities.

2. As used herein, “Round Rock” means Round Rock i Research, LLC. .

3. As used herein, “Plaintif?” means ASUSTeK Computer, Inc. and ASUS Computer
International.

4. .As used herein, “this Action” means ASUS Computer International v. Round Rock
.. Research, LLC and Round Rock Research, LLC v. ASUSTeK Computer, Inc..and ASUS
Computer International, Civil Action No. 3: 12-cv-02099-WHA, in the United States
District Court for the Northern District of California. = .

5. Asused herein, “Product” means any Pixart image sensor, which You either
manufacture(d), sell , sold, or offered to sell to Plaintiff since 2005, or which. Plaintiff
has in any other way procured through You directly or via any other entity, including but
not limited to the Pixart PAS6311LT image sensor.

6. “Person” means any natural person or individual, and any and a// legal entities, including
- without limitation, corporations, companies, firms, partnerships, joint ventures,
proprietorships, associations, governmental t bodies or agencies, or e other form. of business
. _enterprise. -

7.. As used herein, ‘ ‘communication” means any transmission of information by one or more
persons and/or between two or more persons by any means, including telephone:
conversations, letters, telegrams, teletypes, telexes, telecopies, electronic mail, other
computer linkups, written memoranda, and face-to-face conversations...

8. As used herein, “and” and “or” shall be construed conjunctively and disimnotively, So as
to acquire the broadest possible meaning.

9. The term “any” includes “all,” and the term “all” includes “any,” and the terms “any” and
“all” shall each be construed to mean “each and every,” so as to acquire the broadest possible
meaning.
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As used herein, “include” and “including” shall be construed to mean “without
limitation,” so as to acquire the broadest possible meaning.

The singular of any term includes the plural of that term, and the plural includes the singular.

The singular and masculine form of anoun or pronoun shall embrace, and shall be read
and applied as, the plural or the feminine or neuter, as the particular context makes ~
appropriate and to give the noun or pronoun the broadest possible meaning.

As used herein, “relating to” means, without limitation, identifying, describing,
discussing, concerning, assessing, stating, reflecting, constituting, containing,
embodying, tending to support or refute, or referring directly or indirectly to the

particular subject matter identified.

The term “concerning” means identifying, referring to, concerning, regarding evidencing,
demonstrating, summarizing, reflecting, constituting, containing, embodying, mentioning,
pertaining to, commenting upon, connected with, discussing, describing, analyzing, showing,
comprising, or relating to in any relevant way to a particular subject, in whole or in part,
either directly or indirectly.

The document requests herein shall be deemed to include any and all relevant documents
within the possession, custody or contro} of Pixart, including documents located in the
files of any and all past and present association members, subsidiaries, parents, sisters,
partnerships, directors, officers, agents, representatives, employees, attorneys, and
accountants of Pixart.

“Document” shall have the broadest meaning and scope ascribed under Rule 34 of the
Federal Rules of Civil Procedure, and include all tangible things which come within the
meaning of the terms “writings and recordings”" as used in Féderal Rule of Evidence 1001
and all electronically stored information. A draft or non-identical copy is a separate
document within the meaning of this term.

If, after conducting a reasonable investigation, a full answer cannot be provided for any
request for the production of documents, state that such is the case and answer to the
fullest extent possible, stating what responsive documents or information are available, _
what documents or information cannot be provided, why the documents or information

- are unavailable, and what efforts were made to obtain the unavailable documents or

18.

19.

information:

If any of the documents requested herein are no longer in your possession, custody or
control, you shall identify each such requested document by date, type of document,
person(s) from whom sent, person(s) to whom sent, and person(s) receiving copies, and
to provide a summary of its pertinent contents.

If any document responsive to these requests has been destroyed, describe the content of
such document, the location of any copies of such document, and the date of such
destruction.
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DOCUMENTS TO BE PRODUCED

1. Documents sufficient to show all sales of any of the Products to the Plaintiff, or
procurement of any of the Products by the Plaintiff from You, including but not limited to

‘sales records, shipment records, and bills of lading.

2. Documents sufficient to illustrate and explain the manufacture or fabrication of any of the
Products, including but not limited to manuals, schematics, user guides, technical

specifications, technical reports, and CMP recipes.

3. Documents sufficient to show the operation and use of any of the Products, including but
not limited to manuals, schematics, user guides, technical specifications, and technical

reports.
4. Documents sufficient to show the architecture of the Products sold to Plaintiff.

- 5. Documents sufficient to identify all names of all the Products, including internal working

names, external names, commercially used names, and code names.

6. Documents sufficient to identify the locations relating to the design, assembly,

fabrication, and manufacture of any of the Products.

7. Documents sufficient to show the process by which any materials, ingredients, or
_ components (including but not limited to any wafers or semiconductors) are employed,
_ used, or assembled in the manufacturing or fabrication process of any Product, including

but not limited to any image sensor. |
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8.

Documents sufficient to show the training of any Person involved in the process of

manufacturing the Products, including but not limited to the processes of chemical

_ mechanical polishing (CMP), dry etching, metals deposition, any type of chemical vapor

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deposition (CVD), photolithography, ion implantation, plasma deposition, and ion
milling.
Documents sufficient to identify the manufacturers of any equipment used in any process

relating to the manufacture, assembly, or fabrication of any Product (including any image

sensor), including but not limited to the processes of CMP, dry etching, metals

deposition, any type of CVD, photolithography, ion implantation, plasma deposition, and

ion milling. Byte Bll

All communications between Plaintiff and You relating to Round Rock.
All communications between Plaintiff and You relating to the Products.
All communications between Plaintiff and You relating to this Action.

Documents and communications regarding any request for indemnification by Plaintiff in —

connection with patent infringement claims asserted by Round Rock.
Documents sufficient to show Your marketing, advertising, or promotion of the Products.

All documents relating to market demand for the Products inicluding, but not limited to, -
market studies; technical reports, consultant reports, surveys, and any reports or studies .
relating to customer demand of any Product features or decisions to include or exclude

any such features for any Product.
